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     EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


SONYA LARSON,

               Plaintiff

        v.                                                  C. A. No.: 1:19-CV-10203-IT

DAWN DORLAND PERRY,
COHEN BUSINESS LAW GROUP, PC and
JEFFREY A. COHEN, ESQUIRE,

               Defendants.

               AND

DAWN DORLAND PERRY

               Plaintiff-in-Counterclaim
       v.

SONYA LARSON

                Defendant-in-Counterclaim


   DAWN DORLAND PERRY’S REPLY BRIEF IN SUPPORT OF HER MOTION TO
      COMPEL THE PRODUCTION OF DOCUMENTS BY SONYA LARSON

       Dawn Dorland Perry (“Ms. Dorland”) submits this reply brief in further support of her

motion to compel Sonya Larson, the Plaintiff and Defendant-in-Counterclaim in this litigation

(“Ms. Larson”), to produce documents responsive to Ms. Dorland’s Request for Production of

Documents. Despite a conference pursuant to Local Rules 7.1 and 37.1 held amongst counsel on

January 15, 2021 and followed up with a detailed email outlining issues with Ms. Larson’s

production, Ms. Larson refused to engage concerning her production, claiming instead that this

litigation – which Ms. Larson herself initiated – is simply not worth enough money to justify her

compliance with the Rules.
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       However, after Ms. Dorland was forced to turn to the Court for relief, and on the eve of

Ms. Larson filing her opposition, Ms. Larson produced an additional 420 documents on a thumb

drive, which Ms. Dorland received on March 30, 2021, the day after Ms. Larson filed her

opposition to the motion to compel.

       While Ms. Larson suggests in her opposition that this later production consisted of

immaterial documents produced for the sole purpose of placating Ms. Dorland, that is not the

case. The documents produced are relevant and directly on point to Ms. Dorland’s claims and

defenses. Indeed, the documents call into question Ms. Larson’s claims brought against Ms.

Dorland, as follows:




See January 23, 2016 text exchange produced by S. Larson, attached hereto as Exhibit A. There

can be no question that this document wherein Ms. Larson admits to verbatim copying of Ms.

Dorland’s letter, should have been produced in the first instance. Id. This is but one example of
                                                2
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the hundreds of the relevant, material and responsive documents produced by Ms. Larson only

after Ms. Dorland brought this matter to the Court’s attention. In light of this production, it is

clear that Ms. Larson failed to comply with her obligations pursuant to the Rules, and that Ms.

Dorland is entitled to sanctions, including attorney’s fees, as well as assurances that all

responsive documents have been produced.

   A.      Ms. Larson’s Opposition Underscores Her Lack of Compliance With the Rules

        Inexplicably, Ms. Larson, through her Opposition, appears to claim that the number of

documents produced, by both parties and non-parties, controls her own obligations under the

Federal Rules of Civil Procedure. That is not the case. Whether third parties have produced

multiple copies of emails is not determinative of Ms. Larson’s discovery obligations, nor does it

have any bearing on process Ms. Larson undertakes to search, review and produce from what is

in her own possession, custody and control. There is no dispute that the BBF and ASF have

produced documents in this matter in response to a subpoena. While subpoenas were served to

GrubStreet and Middlebury College, documents have yet to be produced due to extensions

granted and internal requirements due to educational and employment-related regulations.

Further, Ms. Dorland’s motion to compel, and her attempts to resolve the discovery disputes

through the requisite conferences, do not address issues concerning communications with any of

the third parties who had been subpoenaed. In her Motion, Ms. Dorland did outline her

incredulity that, based on what she learned from documents that were produced by the BBF, that

Ms. Larson’s production did not contain communications amongst Ms. Larson and her peer

group concerning the BBF’s decision to cancel the One City/One Story program in 2018, but it

did not seek duplicative productions of documents produced by the BBF. Ms. Larson’s




                                                  3
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argument that the number of documents (or pages) produced by third parties has any relevance

on her own production is a distraction and does not have any bearing on her own production.

         Ms. Larson also, incredulously, suggests that she and she alone is the arbiter as to what

documents are relevant to her tort claims, and that once she produces the documents she deems

helpful to proving her claim for interference, her obligations have been met. See Opposition at

p. 6. This is not the case. Ms. Larson’s claims for intentional interference with advantageous

business relationships, as she concedes, requires that she prove that Ms. Dorland acted with an

improper motive or means. Id. Documents concerning Ms. Larson’s copying of Ms. Dorland’s

letter, where Ms. Larson admits to doing so (see Ex. A), work to disprove Ms. Larson’s claim, as

Ms. Dorland’s means, motive or purpose in contacting publishers contemplating the publication

of her own works under Ms. Larson’s name, was not improper. While it is clear that Ms. Larson

prefers not to produce these documents, as they further show that these claims were likely

brought in bad faith as Ms. Larson of course knew that her story contained Ms. Dorland’s work,

that does not obviate her obligation to prove them.1

         It is even more stunning that Ms. Larson argues that “Dorland will probably deny that she

intentionally and purposefully interfered [but that it] is a matter for this court to consider at a

future time.” Opposition at p. 7. Whether this matter is ultimately decided by the Court or by a

jury, the consideration of the issues is to be made after the parties have the benefit of discovery,




1
  Concerning Ms. Larson’s defamation claim, she makes no representations concerning her own production, and
instead attempts to raise, or at least allude to, undefined issues with Ms. Dorland’s production. Ms. Dorland made
her production in June and July of 2020, to which Ms. Larson never responded, reacted or complained. In February
of 2021, Ms. Larson served a second set of requests for production, which were largely duplicative of the first, and
which also sought significant documents related to Ms. Dorland’s allegations concerning her now-dismissed
intentional infliction of emotional distress claim. Due to the irrelevance and duplication of these requests, coupled
with Ms. Dorland’s previous complete production, only seven (7) pages were produced in response to this new
request.

                                                          4
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and arguing that discovery is not necessary now because the Court will make decisions later

completely misapprehends the litigation process.2

         Ms. Larson, through counsel, has further disclosed counsel’s hands-off approach to the

discovery process. In her opposition, Ms. Larson states that “she was not absolutely sure what

Dorland was seeking from her when she received the requests from her counsel.” Opp., p. 12.

This is consistent with Ms. Larson’s counsel’s prior statements wherein he stated that he did not

know what his client did to search for documents, as he simply “sent her the requests,” and that

he did not know what she did to search for additional documents following the parties’

conference because he simply “forwarded your email to her.” Counsel has obligations beyond

simply forwarding a document and leaving his client to decipher the legal import and the legal

obligations.

         Counsel also had an obligation to engage in the meet and confer process, which he did

not, as reflected in Ms. Dorland’s Memorandum in support of her Motion.

         Notwithstanding counsel’s neglect in these discovery matters, Ms. Larson’s apparent

“confusion” over terms is unconvincing. Further, the suggestion that Ms. Dorland’s motion to

compel “more clearly describes” the issues with the initial discovery response is inaccurate, as

the motion to compel was, in large part, an adaptation of counsel’s January 25, 2021 email,

omitting categories of documents related to the intentional infliction of emotional distress, and

omitting issues related to the various versions of “The Kindest,” which were produced prior to


2
 Ms. Larson mischaracterizes the parties’ prior discussions concerning depositions. The first deposition notice to be
served in this case was Ms. Dorland’s deposition notice of Ms. Larson. When Ms. Dorland’s review of Ms.
Larson’s documents evidenced that the production was woefully deficient, Ms. Dorland requested the requisite
conference, and later made clear that she would not depose Ms. Larson unless and until the document production
was complete. Ms. Dorland, through counsel, never claimed that Ms. Larson’s documents were required for Ms.
Dorland’s deposition, although scheduling became an issue as the calendar proceeded toward the close of discovery.
Further, Defendants Jeffrey Cohen and the Cohen Business Law Group were also involved in this discussion, which
Ms. Larson fails to include in her opposition. The issue concerning depositions is being addressed separately by the
Court in a hearing scheduled for April 5, 2021 at 3:30 p.m.

                                                         5
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the motion to compel. As an example of how Ms. Dorland’s requests and follow up

communications were not, in fact, unclear: In her opposition, Ms. Larson claims that she did not

know what was meant by the term “membership” in a Facebook group, because she did not “join

the group as a ‘member’.” See Opp. at p. 12. However, in an email that Ms. Larson sent to Ms.

Dorland in 2016, she clearly stated “my memory is that I did indeed join the FB group.” See

Exhibit B, July 12, 2016 email from S. Larson to D. Dorland. This email was included in Ms.

Larson’s first production, and there is no explanation for her to submission to this Court – after

her apparent review and production of that email earlier this year – that she did not “join” the FB

group at issue and therefore was unable to decipher the term “membership.” Of course, had she

been struck by such confusion, her counsel should have been available to assist, which he clearly

was not.3

        Ms. Dorland has reviewed the 420 documents recently produced by Ms. Larson, the vast

majority of which are directly relevant to the claims and defenses in this case. Ms. Dorland has

no way of knowing, either from the production or Ms. Larson’s opposition, whether this

represents a complete production, and she understands she may never know.4 However, it is

clear from the statements made by Ms. Larson and her counsel that counsel did not oversee the

3
  Counsel goes on in the opposition to state that Ms. Larson does not have any documents that “reflect” her
membership in the FB group, see Opp. at p. 12. However, Exhibit A is a document which “reflects Ms. Larson’s
membership in the Facebook group,” as the letter was posted only in the private and secret Facebook group, and the
only way Ms. Larson could have seen it was if she was a member in that group. Other documents produced reflect
that she had access to the content shared in the private and secret Facebook group, as a member, including early
versions of The Kindest which include additional copied language used by Ms. Dorland in posts she made within her
group, in addition to wholesale copying of Ms. Dorland’s letter.
4
  There is at least one instance wherein it appears the production remains incomplete: Ms. Larson produced certain
text messages with her peer group concerning the award she was granted by the National Endowment for the Arts
(“NEA”). In Ms. Larson’s interrogatory responses, she claimed that “The Kindest” was “one component” of the
$25,000.00 prize she won from the NEA, while her text messages evidence that it was, in fact, awarded solely on
The Kindest. No documents were produced reflecting communications with the NEA, and announcement of the
award, the submission of The Kindest to the NEA, or any other information concerning this award based on The
Kindest. All of this information would be relevant to the damages Ms. Dorland is claiming in this matter. See, e.g.,
Ex. C. at p. 1 (text messages from S. Larson re: NEA Award); Ex. D (S. Larson responses to Interrogatories, at
Interrogatory No. 16).

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discovery process, and that both Ms. Larson and counsel are making decisions concerning what

should be produced based on unilateral judgment calls concerning this case, which they initiated.

A plaintiff is not entitled to determine which documents are “key” to proving their claims and

therefore produce only those documents. Therefore, Ms. Dorland seeks an order requiring Ms.

Larson and her counsel to make a complete and thorough production of all responsive documents

in Ms. Larson’s possession, custody and control, including but not limited to emails, text

messages, Facebook posts, Facebook direct messages, Twitter posts, Twitter Direct Messages,

Slack messages, Instagram messages, and any other communication form used by Ms. Larson for

the period of 2015 through 2020.

   B.        Ms. Dorland is Entitled to Sanctions Under the Rules.

          Pursuant to Fed. R. Civ. P. 37(a), a party may, upon reasonable notice to other parties,

move for an order compelling discovery. See, e.g., Afreedi v. Bennett, 517 F. Supp.2d 521 (D.

Mass. 2007). Fed. R. Civ. P. 37(a)(4)(A) states that when a motion to compel pursuant to Rule

37(a) is allowed, or when responses are made after a motion has been filed, “the court shall, after

affording an opportunity to be heard, require the party … whose conduct necessitated the motion

or the party or attorney advising such conduct or both of them to pay to the moving party the

reasonable expense incurred in making the motion, including attorney’s fees[.]” The exceptions

to this requirement are (a) if the motion was filed without the movant’s first making a good faith

effort to obtain the disclosure without court action, (b) that the nondisclosure, response, or

objection was substantially justified, or (c) that other circumstances make an award of expenses

unjust.

          Here, there is no question that the March 30, 2021 production of 420 documents was

made after Ms. Dorland’s March 15, 2021 motion was filed. Pursuant to Fed. R. Civ. P.



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37(a)(4)(A), this production requires an order of sanctions. None of the exceptions apply to

these circumstances. First, Ms. Dorland’s counsel sought and held a discovery conference with

Ms. Larson’s counsel and counsel for the co-defendants on January 15, 2021, and that is not in

dispute. See Memo at p. 3. Ms. Dorland’s counsel followed up after that conference with a

detailed email setting forth issues raised on the call, and, as the parties agreed, outlining request-

by-request issues. Id. at p. 3, Ex. B. For weeks, Ms. Dorland pressed for additional documents,

and those emails were met with responses such as “the burden to prove my defamation and

intentional interference claim is on me.” See Memo at p. 1, Ex. A. No meaningful response to

the issues raised during the discovery conference was made until Ms. Larson’s opposition was

filed. Second, in this matter, the withholding of (or refusal to search for) documents was not

justified. There is no claim of confidentiality, there is no claim of disability, there is no claim of

lack of access. See Opp., generally. In fact, the time that was afforded to Ms. Larson for this

production was overly long, and generously so, based on claims of illness and complications

from childbirth by both Ms. Larson and her counsel, which Ms. Dorland and her counsel

respected. Ms. Dorland further accommodated any difficulties related to the current global

pandemic. It simply cannot be the case that the extended production period provided was

insufficient for a simple and basic search of records in the possession, custody and control of an

individual. This is a single custodian, not a corporation. Finally, there is no circumstance here,

in light of all of the factors described herein, that makes an award of sanctions unjust. Ms.

Larson brought this litigation, after copying Ms. Dorland’s letter and publishing it as her own

work.5 She then delayed in producing documents, or responding in any fashion, for more than



5
  While Ms. Larson continues to state that she did “not copy” Ms. Dorland’s letter, even in her current Opposition,
other documents authored by Ms. Larson contradict this statement. For example, Exhibit A to this reply brief is a
text message authored by Ms. Larson wherein she clearly states that she was “nervous” about sending the letter to

                                                          8
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six (6) months, ultimately making an anemic production that on its face evidenced its lack of

completeness. When pressed, Ms. Larson and her counsel claimed that Ms. Dorland was not

entitled to documents concerning Ms. Larson’s tort claims, documents which Ms. Dorland now

knows will certainly bolster her defenses to Ms. Larson’s unfounded claims. In light of the

significant extensions granted in this matter, there is no basis upon which for Ms. Larson or her

counsel to claim that the current pandemic has any impact on this discovery process. Ms.

Dorland and Attorney Cohen have complied with their discovery obligations, as have countless

other litigants, despite the pandemic.

         It bears repeating that the nature of the documents produced on March 30, 2021 is

particularly troubling, evidencing the reasonableness of an award of sanctions, including

attorney’s fees, in this circumstance. The documents that were withheld are directly on point,

and support Ms. Dorland’s defenses on all claims brought against her, as well as her own

affirmative claims. Additional exemplars of the relevance of these key documents are attached

hereto as Exhibit C.

                                                         Respectfully Submitted,


                                                          DAWN DORLAND PERRY,

                                                          By her attorneys,


                                                          /s/ Suzanne Elovecky
                                                          Suzanne Elovecky (BBO # 670047)
                                                          PARTRIDGE, SNOW & HAHN LLP
                                                          30 Federal Street, 7th Floor
                                                          Boston, MA 02110
                                                          (617) 292-7900
                                                          selovecky@psh.com
Dated: April __, 2021

potential publishers because it “literally has sentences that I verbatim grabbed from Dawn’s letter on FB.” See
Exhibit A.

                                                         9
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                                 CERTIFICATE OF SERVICE

                I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on April __, 2021.



                                              /s/ Suzanne M. Elovecky
                                              Suzanne M. Elovecky (BBO #670047)




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                  EXHIBIT A
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                  EXHIBIT B
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                  EXHIBIT C
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                             UNITED STATES DISTRICT COURT

                                            FOR THE

                               DISTRICT OF MASSACHUSETTS




 SONYA LARSON
                                                           Civil Action No.
                       Plaintiff,
 v.                                                        1:19-cv-10203-IT

 DAWN DORLAND PERRY, et al.

                       Defendants.




PLAINTIFF, SONYA LARSON’S ANSWERS AND OBJECTIONS TO INTERROGATORIES
            PROPOUNDED BY DEFENDANT, DAWN DORLAND PERRY


GENERAL OBJECTIONS

        Plaintiff objects to the definitions and instructions contained in Defendant, Dawn Dorland
Perry’s First Interrogatories to Larson on the grounds that they are overly broad, vague, unduly
burdensome and beyond the scope of discovery set forth in the Federal Rules of Civil Procedure
and/or give meaning to words different from their ordinary English meaning or definitions set
forth in applicable statutes or rules. By submitting answers to interrogatories, Plaintiff does not
in any way adopt Defendant’s purported definitions of words or phrases contained in this
discovery request to the extent they are inconsistent with the ordinary and customary meanings
of such words and phrases or the rules governing the permissible scope of discovery. Plaintiff
specifically objects to the definition of “Dorland Letter” and Defendant’s characterization of said
letter.

INTERROGATORIES

Interrogatory No. 1: State the name and address of each person who has knowledge about
the facts and circumstances described in the Complaint and the Counterclaim filed in this
Action.
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OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. Furthermore, this interrogatory is objected to the extent that

it invades the attorney-client and the attorney work product privileges. Subject to and without

waiver of these objections, Plaintiff states as follows:

        In addition to the Plaintiff, Sonya Larson (“Larson”), and the Defendants, Dawn Dorland

Perry (“Dorland”), Cohen Business Law Group, PC, and its agents, servants, employees, and

present or former attorneys (collectively “Cohen Law”) including but not limited to Defendant,

Jeffrey A. Cohen (Atty. Cohen”), and Attorney Michael S. Hanna, Larson refers Dorland to

Larson’s Initial Disclosures that were provided to all counsel by letter dated April 24, 2020, and

her answers and responses to all interrogatories she has answered in this Action, and responses to

document requests that have been or will be made, all of which are incorporated herein by

reference.


Interrogatory No. 2: Identify all non-privileged communications you have had with any
person concerning the Dorland Letter; for each such conversation, identify (a) the date of
the conversation, (b) the person with whom you had the conversation, (c) any witnesses to
the conversation, and (d) the substance of the conversation, including who said what.

OBJECTION: In addition to the General Objections herein, Plaintiff objects to this interrogatory

on the grounds that it is overly broad, unduly vague, ambiguous and burdensome. Furthermore,

Plaintiff objects to this interrogatory to the extent that it invades the attorney-client and the

attorney work product privileges. Subject to and without waiver of these objections, Plaintiff

states as follows:

    (a) Summer of 2015;

    (b) Sari Boren;

    (c) Other than Ms. Boren, there were no witnesses;
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   (d) We discussed the self-referencing tone of the letter.


Interrogatory No. 3: Concerning the Dorland Letter, please identify: (a) the date that you
first read the Dorland Letter; (b) the circumstances in which you first encountered and
read the Dorland Letter; and (c) what if anything you did with the Dorland Letter at that
time.

OBJECTION: Please see the General Objections, which are included herein by reference.
Subject to said objections, Plaintiff states as follows:

   (a) Summer of 2015

   (b) Dorland added me to her Facebook group, and I read the letter sometime after it was

       posted.

   (c) I did nothing with the letter.


Interrogatory No. 4: For each copy of the Dorland Letter that you have or had in your
possession, custody and control at any time, please identify (a) when that copy of the
Dorland Letter came into your possession, custody and control; (b) from where you
obtained that copy of the Dorland Letter, (c) the date, if any, that said copy left your
possession, custody and control, and (d) the circumstances upon which said copy left your
possession, custody and control.

OBJECTION: Please see the General Objections, which are included herein by reference.
Subject to said objections, Plaintiff states as follows:

   (a) I received a copy of the letter on or about June 8, 2018.

   (b) Rebecca Markovits of American Short Fiction sent it to me.

   (c) I still have the copy in my possession.

   (d) Not applicable; I still have the copy in my possession.


Interrogatory No. 5: Describe any and all research you conducted in connection with your
writing of The Kindest, including but not limited to research related to letters written to
and from kidney donation recipients. Include in your response the dates that said research
was completed and the resources utilized in your research.
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OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. Plaintiff also objects to the word, “research,” which is

vague and ambiguous. Subject to and without waiver of these objections, Plaintiff answers this

interrogatory as follows:

   Some of my “research” was based on my education, general reading of many subjects as well

as my life experiences. As best as I can remember at this time, specific inquiries were conducted

on the following topics.

   On alcoholism and addictive logic:

           ○ Neurotic Styles by David Shapiro, 2013-2015

           ○ Breaking Addiction: A 7-Step Handbook for Ending Any Addiction by Lance

               Dodes, 2013-2015

           ○ Extensive conversations with a close relative who has been a member of Al-Anon

               for decades.

   ● On codependency:

           ○ Women Who Love Too Much, by Robin Norwood, 2013-2015

           ○ Codependency For Dummies, by Darlene Lancer, 2013-2015

   ● On representation of Chinese-American working class people:

           ○ Numerous articles and essays about the “model minority” myth, and how it

               obscures the reality of Asian-American poor and working class people, 2013-

               2017

           ○ Extensive conversations with my mother, who is Chinese-American and whose

               parents immigrated from China to the United States.

   ● On white savior narratives and how they function:
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           ○ “The White-Savior Industrial Complex,” by Teju Cole, 2014

           ○ Numerous essays and entries on Wikipedia on white savior narratives in film,

               critiques of The Help, etc., 2014-2015

   ● “The Dress” Photograph and related articles by Steven Pinker, 2015

   ● Numerous essays and articles on the “angry Black woman” stereotype, 2013-2015

   ● Letters from organ donors, recipients, and family members of donors and recipients in

       2015 including for example, the following:

           ○ https://www.giftofhope.org/

           ○ https://www.lifelinkfoundation.org/

           ○ https://www.donors1.org/

           ○ http://transplantnet.org/

           ○ https://www.lungtransplantproject.org/

           ○ https://www.lcnw.org/

           ○ https://www.kidney.org/


Interrogatory No. 6: Identify, either by title or description, all writings authored by Ms.
Dorland that you had access to, saw, skimmed, scanned, reviewed, read or studied. For
each said writing, please identify the date and manner in which you obtained access to said
writing. For purposes of this interrogatory, “writing” shall mean letter (excluding emails or
text messages), short story, essay, novel, novella, memoir, poem, or excerpts of any of same.

OBJECTION: Subject to the General Objections, Plaintiff also objects to this interrogatory on

the grounds that it is overly broad, unduly vague, ambiguous and burdensome. Without waiver

of these objections, Plaintiff answers this interrogatory as follows:

       To the best of my memory at this time, I answer this interrogatory as follows:

   ● 2007-2017: I read various posts that Dorland made on Facebook, Twitter, and Instagram.
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   ● Dates uncertain: I believe that Dorland submitted writing samples to the Manuscript Mart

       of GrubStreet’s national writing conference, which I technically had access to, but I did

       not open or view these writing samples.

   ● Dates uncertain: I believe that Dorland submitted writing samples for various writing

       classes at GrubStreet, which I technically had access to, but that I did not open or view.

   ● August 2018: I read a blog post that Dorland once wrote for the GrubStreet blog.



Interrogatory No. 7 Identify all entities to which you submitted The Kindest for
publication, assessment, consideration or evaluation; whether for purposes of publication,
entry in a contest, admission into a workshop, academic program, class, seminar or course,
or for a scholarship, fellowship, or other recognition of any kind.

OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. Plaintiff also objects to the word, “publication,” which can

have different meanings depending on the context in which the word is used. Subject to and

without waiver of these objections, Plaintiff answers this interrogatory as follows:

       As best as I can remember, the entities include the following:

American Short Fiction

The Atlantic

Boston Review

Carve Magazine

Colorado Review

Electric Literature

Glimmer Train

Gulf Coast

Hunger Mountain
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Boston Book Festival

Mass MOCA

The Masters Review

The Missouri Review

Narrative Magazine

National Endowment for the Arts

The New Yorker

Ploughshares

Plympton

Ragdale

Rona Jaffe Foundation

The Somerville Arts Council

Tin House

Welcome to the Neighborhood Anthology


Interrogatory No. 8: Identify all statements made by Ms. Dorland which you claim were
defamatory. For each said statement, identify the date the statement was made and to
whom said statement was made, and whether said statement was made in writing or
otherwise.

OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. Also, discovery is ongoing and there may be other

defamatory statements that have yet to be uncovered. Subject to and without waiver of these

objections, Plaintiff states as follows:
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       Larson refers Dorland to Larson’s Initial Disclosures that were provided to all counsel by

letter dated April 24, 2020, as well as all answers to interrogatories and document requests of all

parties, which are incorporated herein by reference.

       In addition, Dorland made the following statements of which I am aware.

   ● Dorland’s repeated statements to the Boston Book Festival that I am a plagiarist;

   ● Dorland’s repeated statements to American Short Fiction that I am a plagiarist;

   ● Dorland’s repeated statements to a Boston Globe reporter that I am a plagiarist;

   ● Dorland’s repeated statements to one or more employees at GrubStreet that I am a

       plagiarist;

   ● Dorland’s repeated statements to the Bread Loaf Writers’ Conference that I am a

       plagiarist;

   ● Dorland’s repeated statements to members of my writing group that I am a plagiarist;

   ● Dorland’s repeated statements to the Vermont Studio Center that I am a plagiarist;

   ● Dorland’s repeated statements to literary agent Samantha Shea that I am a plagiarist;

   ● Dorland’s statements to a Boston Globe reporter that I received my fellowship to the

       Bread Loaf Writers’ Conference based on “The Kindest”;

   ● Dorland’s statements to The Michener Center for Writers that I am a plagiarist;

   ● Dorland’s statements to PEN America that I am a plagiarist;

   ● Dorland’s statements to The Author’s Guild that I am a plagiarist;

   ● Dorland’s statements to Tin House that I am a plagiarist;

   ● Dorland’s statements to “an acquaintance who directs a prestigious international writing

       workshop” that I am a plagiarist;
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    ● Dorland’s statements to the writers Jennifer Haigh, Steve Almond, Deborah Plummer,

        Ethan Gilsdorf, Sondra Levenson, Kathy Sherbrooke, Maud Casey, Michael Collier, and

        Andrew Goldstein that I am a plagiarist;

    ● Dorland’s statements to a Boston Globe reporter that I have created a “hostile work

        environment” at GrubStreet, and that I have committed “legal and artistic intimidation”;

    ● Dorland’s statements to a Boston Globe reporter that I used “hostile conduct” and

        “intimidation” with Dorland at the conference I run, to which “other writers might be

        vulnerable,” and that I have committed “community betrayal”;

    ● Dorland’s statement to one or more employees at GrubStreet that I “directed” her “not to

        write about race.”


Interrogatory No. 9: Identify all communications you had with any voice talent employed
in connection with The Kindest concerning their performance in connection with that
work. For each such communication, identify the date of the communication, the name of
the voice talent, and substance of the communication. Specifically, please identify any
direction you provided to said voice talent concerning the tone or inflection that you
desired to be utilized during the letter portion of The Kindest, or any back story or other
information you provided concerning the letter contained within The Kindest.

        OBJECTION: Plaintiff objects to this interrogatory to the extent it is overbroad and unduly

burdensome and seeks information that is neither relevant to the claim or defense of any party, nor

reasonably calculated to lead to the discovery of admissible evidence. Subject to said objection, Plaintiff

states as follows:

        I had a series of email communications with Emily Woo Zeller from May 2 to May 13,

2016. I mentioned to Emily that I made slight improvements to The Kindest in order to ease the

rhythm and tone of the story. I mentioned that the characters in my story were ordinary people

who spoke colloquially and were vulnerable human beings. I told her that the main character’s

voice tended to be casual and even crass when she is uncomfortable, especially with regard to
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her alcohol problem, the nature of her car crash, and the kindness of Rose Rothario and Rose's

life-saving act.

        I said that in general, the tone of the story is one of gathering intensity. What begins as

relief and triumph becomes more intimate, knowing, anxious and intense.

        Emily said she understood the complexities of the two women, and she thought the story

was intense. She also asked me how to pronounce Bao’s name and the name Rothario. To the

best of my knowledge, I did not give Ms. Zeller any direction concerning the tone or inflection to

be used in connection with the letter portion of my short story.


Interrogatory No. 10: Identify the date that you first conceived of the idea for the short
story “The Kindest” and describe the source of that inspiration.

        I had helped to facilitate a panel on race and writing while I was studying for my MFA in

January 2015. The panel sparked a very divided reaction from members of the audience. During

this panel, it became clear to me that many of the white-identified writers in the room were

perceiving different racial dynamics happening than were the self-identified writers of color.

        When I heard about and saw “The Dress” photograph in February 2015, which viewers

debated was either gold and white, or black and blue, it struck me as a perfect metaphor for what

I had witnessed in January 2015 as a graduate student. I wanted to write a story that would

function like that photograph and spark divergent reactions from readers.


Interrogatory No. 11: Identify all changes that you made to the letter contained in The
Kindest following the first draft, and for each change, identify (a) the date of the change,
and (b) the reason for the change.

OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. Subject to and without waiver of these objections, and to

the best of Plaintiff’s present memory, Plaintiff states as follows:
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   ● November 2015: I changed the letter-writer’s name, to a derivative of my mother’s name.

   ● July 2016: I made changes of language to emphasize Rose’s affection for platitudes, and

       to introduce the word “foreign.”

   ● August 2016: I made changes of language to avoid similarities between the letter in my

       story and what I remembered of Dorland’s letter.

   ● June 2018: I made changes of language to dispel all comparisons between the letter in my

       story and what I remembered of Dorland’s letter. This change was made to placate

       Dorland so she and her lawyers would stop their relentless threats, accusations,

       intimidation, unwarranted legal claims, phone calls and emails to the Boston Book

       Festival so that The Kindest would be published and disseminated by the BBF.


Interrogatory No. 12: Identify all elements of The Kindest, the characters contained within
The Kindest, or any promotional materials related to The Kindest, that were inspired by or
copied from Ms. Dorland, Ms. Dorland’s living kidney donation, or which were inspired by
or copied from Ms. Dorland’s Facebook group or materials posted therein. For each such
element, identify whether said element was “inspired by” or copied.

OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. Subject to and without waiver of these objections, Plaintiff

states as follows:

       I did not copy Dorland’s letter.

   ● I was inspired by the occasion of Dorland’s giving her kidney to a stranger. Such an

       occasion dovetails nicely with the classic literary narrative construction of a “stranger

       comes to town,” in which a stranger or a new situation enters a protagonist’s world and

       their/its presence disrupts the norms of that world.

   ● I was inspired by the self-referencing tone and syntax of Dorland’s letter. That quality

       set it apart from similar letters I read in my research.
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Interrogatory No. 13: Identify all public appearances you have made from January 1, 2017
to the present, including but not limited to readings, interviews, speaking engagements,
lectures, events, symposiums, and conferences. For each such appearance, please state the
date, the name of the event, the sponsor of the event, the context in which you appeared,
the role you played at the event, whether you spoke at the event, and if you so, the content
of your speech.

OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. Subject to and without waiver of these objections, Plaintiff

states as follows:

Monday, August 24th, 2020

7:00pm @ Cambridge Public Library

What Makes a Good Writing Group? The Chunky Monkeys Share Tips & Advice

With Alex Marzano-Lesnevich, Celeste Ng, Christopher Castellani, Jennifer De Leon, Adam

Stumacher, Whitney Scharer, Calvin Hennick, Grace Talusan, Chip Cheek, and Becky Tuch

Members of my writers’ group and I discussed advice for forming and maintaining a successful

writer’s group.



Friday, July 17th, 2020

3:00pm @ Warren Wilson MFA Alumni Conference

The Art of Urgency: Pursuing Craft in a More Conscious Moment

With Tariq Luthun, Nathan McClain, and Adrienne Perry

On writing and race, Covid-19, and urgent issues of our current moment



Wednesday, June 17th, 2020

7:00pm @ Porter Square Books in Cambridge, MA
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With Dolores Johnson

Discussion of Johnson’s memoir, Say I'm Dead: A Family Memoir of Race, Secrets, and Love



Friday, May 22nd, 2020

7:00pm @ Porter Square Books in Cambridge, MA

Welcome to the Neighborhood: An Anthology Reading

With Robert Pinsky, Jennifer De Leon, Gail Mazur, Sarah Green, Lloyd Schwartz, Katherine

Hollander, Aaron Devine, Lynne Viti, Christine Fort, and David Blair

Reading from “The Kindest”



Thursday, February 20th, 2020

6:00pm @ Suffolk University Poetry Center in Boston, MA

Salamander Issue #49 Release Party

With Moira Linehan and David Moloney

Reading from “The Kindest”



Thursday, January 16th, 2020

7:00pm @ Belmont Books in Belmont, MA

Writer’s Craft: Writing Groups

With Jennifer De Leon, Calvin Hennick, Celeste Ng, Whitney Scharer, Adam Stumacher, and

Grace Talusan

Discussion of what makes a good writing group
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Wednesday, January 15th, 2020

7:00pm @ Harvard Bookstore in Cambridge, MA

In conversation with Liz Moore

Discussion of Moore’s novel, Long Bright River



Friday, October 25th, 2019

7:00pm @ Belmont Books in Belmont, MA

Writer’s Craft: Exploring Climate Fiction

With Julie Carrick Dalton and Tim Weed

Discussion of climate change fiction



Monday, April 15th, 2019

6:30pm @ The New Hampshire Institute of Art in Manchester, NH

Visiting Writer Series

Reading from “Gabe Dove”



April 5-7th, 2019

The Muse and the Marketplace 2018

Various welcoming remarks, announcements, introduction and Q&A with keynote speaker Luis

Alberto Urrea



Tuesday, November 13th, 2018

8:00pm @ The Oberon in Cambridge, MA
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For Resistance Mic!

Reading from “The Kindest”



Monday, October 22nd, 2018

7:00pm @ the Concord Festival of Authors in Concord, MA

With Dariel Suarez

Discussion of the craft of short fiction



Saturday, October 6th, 2018

7:00pm @ Warren Wilson College in Asheville, NC

With Michael Collier, Dana Levin, and Gabrielle Bates

House Party Reading Series from Bull City Press

Reading from “The Kindest”



Thursday, September 13th, 2018

7:00pm @ The Cambridge Boat House in Cambridge, MA

With fellow readers whose names I cannot remember at this time

The Unauthorized Eleanor Wilner Reading Series

Reading from “The Kindest”



Saturday, September 1st, 2018

7:00pm @ The Amory Center for the Arts in Somerville, MA

With Marguerite Guzmán Bouvard and Michael Keith
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The Dire Reading Series

Reading from “Gabe Dove”



Wednesday, August 8th, 2018

7:00pm @ Belmont Books in Belmont, MA

With Becky Tuch

Discussion of submitting your work to literary magazines



April 6-8th, 2018

The Muse and the Marketplace 2018

Various welcoming remarks, announcements, introduction and Q&A with keynote speaker Min

Jin Lee



Wednesday, February 7th, 2018

8:00pm @ The Oberon in Cambridge, MA

For Resistance Mic! with Obehi Janice, Richard Hoffman, Sebastian Johnson, Dom Jones, and

The Kuumba Singers

Reading from “Gabe Dove”



Friday, January 12th, 2018

4:00pm @ Warren Wilson College in Asheville, NC

With Carlos Andrés Gómez, Kristen Hewitt, and Meghan Williams

Reading from “The Kindest”
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Wednesday, November 15th, 2017

7:00pm @ Brookline Booksmith in Brookline, MA

In conversation with Celeste Ng

Discussion of Ng’s novel, Everything I Never Told You



Thursday, October 26th, 2017

7:00pm @ Belmont Books in Belmont, MA

With Laura van den Berg and Heidi Pitlor

Discussion of Best American Short Stories 2017, Reading from “Gabe Dove”



Thursday, October 12th, 2017

7:00pm @ The Kickstand Cafe in Arlington, MA

With Kelly J. Ford and Joanna Rakoff

Arlington Author Series

Reading from “Gabe Dove”



Thursday, May 25th, 2017

7:00pm @ The Middle East Restaurant & Nightclub in Cambridge, MA

With Tom Perrotta

Reading from “Gabe Dove”



May 5-7th, 2017
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The Muse and the Marketplace 2017

“Beyond Almond Eyes and Chocolate Skin: Indicating Racial and Ethnic Identity,” with Cynthia

Gunadi

“Do I Need to Explain That? On Cultural & Linguistic Translation,” with Jennifer De Leon and

Celeste Ng

“Agents and Editors of Color Roundtable,” with Mira Jacob, Alexander Chee, Regina Brooks,

Kaitlyn Greenidge, Celeste Ng, Eki Ikkanda, and Jennifer De Leon

Various elements of writing and race, and navigating the publishing world as a writer of color



Wednesday, March 1st, 2017

7:00pm @ The Cambridge Boat House in Cambridge, MA

With E.J. Graff, Jackie Malone, and Stan Yarbro

The Unauthorized Eleanor Wilner Reading Series

Reading from “The Kindest”



Monday, January 2nd, 2017

7:00pm @ Porter Square Books in Somerville, MA

With Joan Wickersham

Reading from “Gabe Dove”



Interrogatory No. 14: Identify any invitations you received to appear at any public event,
including but not limited to the types of events listed in Interrogatory No. 13, which you did
not accept, from January 1, 2017. For each said event, state the date of the event, the name
of the event, the individual who invited you, the sponsor of the event, the role for which you
were invited to play, and the reason that you declined.
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OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. Subject to and without waiver of these objections, Plaintiff

states as follows:

   ● Association of Writers and Writer’s Programs (AWP) 2017: February 8-11th, invited as a

       panelist on various nascent topic ideas. Declined due to scheduling conflict.

   ● AWP 2018: March 7-10th, invited as a panelist on various nascent topic ideas. Declined

       due to scheduling conflict.

   ● AWP 2019: March 27-29th, invited as a panelist on various nascent topic ideas. Declined

       due to scheduling conflict.

   ● AWP 2020: March 4-7th, invited as a panelist on various nascent topic ideas. Declined

       due to scheduling conflict.



Interrogatory No. 15: Identify any public appearances you were scheduled to make which
were canceled for any reason from January 1, 2017 to the present, including but not limited
to the types of events listed in Interrogatory No. 13. For each said event state the date of the
event, the name of the event, the individual who invited you, the sponsor of the event, the
role for which you were invited to play, and the reason given for the cancelation.

OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. Moreover, Plaintiff objects to the use of the phrase “public

appearances” which is vague. Also, Plaintiff has not included “appearances” including such

things as readings, interviews, speaking engagements, lectures, events, symposiums,

conferences, radio and television shows and other “appearances” she was likely to have or

events she was likely to appear at, if her Short Story was used by the BBF as the centerpiece of

the One City/One Story project. Subject to and without waiver of these objections, Plaintiff

states as follows:
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April 3-5, 2020

The Muse and the Marketplace 2020

Various welcoming remarks, announcements, introduction and Q&A with keynote speaker Viet

Nguyen.

I am the Director of this conference, and canceled it due to the Covid-19 pandemic.


Interrogatory No. 16: Identify any and all writings authored by you that have been
published, featured, highlighted, honored, commended, or granted an award from January
1, 2017 to the present. For each such writing, state (a) the title, working title or description
of the publication, (b) the date of the publication or other recognition, (c) the type of
recognition, (d) whether or not said publication or recognition was accompanied with any
compensation, and (e) if so, the amount of compensation.

OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. Subject to and without waiver of these objections, Plaintiff

states as follows:

   ● “Code W,” novel excerpt, Ploughshares, July 2020, paid $450

   ● “The Kindest,” American Short Fiction, Summer 2017, paid $300

           ○ One component of application package for a National Endowment for the Arts

               Creative Writing Fellowship, 2020; paid $25,000

           ○ Anthologized in Welcome to the Neighborhood: An Anthology of American

               Coexistence, The Ohio State University Press, December 2019; no compensation

           ○ One component of application package for a Larry Levis Prize for a short story

               collection manuscript, 2019; no compensation

           ○ Special Mention for the Pushcart Prize 2019 XLIII, November 2018; no

               compensation
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       ○ Selected as the Boston Book Festival's 2018 One City One Story program

           selection, October 2018; no compensation

       ○ One component of application package for a Ragdale Fellowship, 2018; no

           compensation (did not attend)

       ○ Pushcart Prize nomination, February 2018; no compensation

       ○ One component of application package for a Somerville Arts Council Fellowship,

           2020; paid $1,800

       ○ Recorded as audiobook by Plympton (2016); paid $125

●   “The Empty Hour, The Harvard Advocate, Spring 2019; no compensation

● “At the Bottom of New Lake,” Warmer, Climate Fiction Amazon Original Stories

    Collection, with Jane Smiley, Lauren Groff, Jess Walter, Edan Lepucki, Skip Horack,

    October 2018; paid $4,000

● “The Horror and Joy of No One to Blame,” Literary Matters, July 2018; no compensation

● “The Request,” Solstice: A Magazine of Diverse Voices, July 2018; no compensation

● “The Peak,” Solstice: A Magazine of Diverse Voices, July 2018; no compensation

● “AA,” Solstice: A Magazine of Diverse Voices, July 2018; no compensation

● “Catch and Release: Strategies of Overt and Covert Narratorial Control,” The Writer’s

    Chronicle, March/April 2018

● “Q County Colored Penitentiary,” Memorious, Fall 2017

       ○ Anthologized in Pangyrus: The Resistance Issue, November 2018

● “Gabe Dove,” Salamander, Winter 2017; paid $250

       ○ Appointment for the New York Public Library’s Subway Library, February 2018,

           paid $50
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           ○ Anthologized in The Best American Short Stories 2017, October 2017; no

               compensation


Interrogatory No. 17: Describe in detail all reputational damages you allege to have
suffered as a result of the allegations set forth in the Complaint.

OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. In particular, Plaintiff objects to the word, “reputational”

which is vague and ambiguous. Subject to and without waiver of these objections, Plaintiff

states as follows:

   ● Damage among untold number of readers of The Boston Globe, constituting potentially

       thousands of people

   ● Damage among the staff of The Boston Globe

   ● Damage among the staff of the Vermont Studio Center

   ● Damage among the staff of The Michener Center for Writers

   ● Damage among the staff PEN America

   ● Damage among the staff The Author’s Guild

   ● Damage among the staff Tin House

   ● Damage with literary agent Samantha Shea, who was actively interested in representing

       me until Dorland’s campaign


Interrogatory No. 18: Describe in detail all lost productivity damages you allege to have
suffered as a result of the allegations set forth in the Complaint, including but not limited
to the “four anthologies”, the “canceled and delayed manuscript consultations with
writers”, the purpose of the canceled “schedule trip to Montreal from July 19-23” and the
associated lost income, all of which is referenced in your initial disclosures as “lost
productivity” damages.
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OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. Subject to and without waiver of these objections, Plaintiff

states as follows:

   ● I was frequently interrupted at my job by Dorland’s relentless harassment, especially as

       Ms. Dorland and Cohen continued to make threats against me and the Boston Book

       Festival, to which both my lawyer and the BBF’s lawyers had to respond. I missed

       countless meetings, an important site visit to GrubStreet’s new prospective location, and

       had to delay several projects. By the end of August 2018, I was four weeks behind

       schedule in planning the Muse and the Marketplace conference, of which I am the

       Director.

   ● I was forced to take several days off of work in June, July, August, and September 2018,

       in order to find legal counsel, attend legal meetings, respond to The Boston Globe’s

       inquiries, respond to updates from the BBF about Dorland and the Cohen Defendants’

       escalating demands, and to respond to updates from ASF, the Bread Loaf Writers’

       Conference, and my writing group about Dorland’s behavior.

   ● I had to cancel a manuscript consultation with writer Maggie O’Brien in July of 2018,

       due to being overwhelmed with the workload of dealing with Dorland and the Cohen

       Defendants. This resulted in the loss of hundreds of dollars, and the opportunity for

       further consulting work with O’Brien.

   ● I had to deliver a manuscript consultation with writer Oren Bendavid-Val at a severely

       delayed time, and had to cancel two consultation appointments with him, due to urgent

       legal responses suddenly needed on that day, plus comments to The Boston Globe. This

       was in July and August 2018.
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   •   I had to cancel a scheduled trip to Montreal from July 19-23, 2018, due to an urgent and

       overwhelming need to respond to the latest threatening letter from Dorland and her

       lawyers. The purpose of this trip was to visit my now-husband’s family. We lost money

       from various travel-related bookings."

   ● I missed a community book club discussion of Lisa Halliday’s novel, Asymmetry, which I

       was scheduled to facilitate, on June 24, 2018. This was also due to an overwhelming need

       to respond to Dorland’s latest threats.

   ● Prior to June 7, 2018, I had been writing at the Vermont Studio Center on a four-week

       fellowship, and making strong daily progress on my next work of fiction. After June 7th,

       when I first heard of Dorland’s campaign against me, my writing virtually stopped.

   ● Virtually all I could write about after June 7, 2018 was my distress in dealing with

       Dorland, and the distress of being the object of someone’s obsessive anger.


Interrogatory No. 19: Describe in detail all emotional distress damages you allege to have
suffered as a result of the allegations set forth in the Complaint, including but not limited
to physical manifestations of said emotional distress, monetary damages, and any other
damages you are claiming in this litigation related to any alleged emotional distress.

OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is overly broad, unduly

vague, ambiguous and burdensome. Subject to and without waiver of these objections, Plaintiff

states as follows:

       In addition to damages I incurred that are mentioned in other discovery, I answer as

follows.

   ● I felt that I was being stalked by Dorland, especially when the BBF and ASF told me that

       she was calling and emailing their staff and board multiple times per day, and making

       legal threats to them. I felt even more stalked when I learned that Dorland was
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   continuously contacting my employer (GrubStreet), The Boston Globe, the Bread Loaf

   Writers’ Conference, and members of my writing group.

● I sought out the process for obtaining a restraining order on July 3rd, after learning that

   Ms. Dorland had contacted my workplace. I felt that she was obsessed with me, as she

   seemed to be spending many hours a day trying to interfere with my employment, my

   publication opportunities, my reputation in the literary world, and reputation in Boston.

● I suffered from extreme anxiety as a result of Dorland’s relentless harassment.

       ○ I had difficulty eating and keeping food down. I lost weight—between 5-10

           pounds.

       ○ I had tremendous difficulty sleeping, and took sleeping pills nights every night for

           two weeks in June 2018, in order to fall asleep and stay asleep.

       ○ I sought constant advice and assurance from family and friends via a dramatic

           increase in phone calls and get-togethers.

       ○ I began weekly therapy sessions on June 27, 2018, and continued to attend

           therapy through November 19, 2018.

       ○ I brought my partner and now husband with me to therapy due to the stress and

           distraction that Dorland’s harassment was causing in our relationship.

       ○ After weeks of getting little sleep, there was a time in July and August of 2018,

           when I developed paranoid thoughts that Dorland was somehow reading my

           emails or listening to my phone calls.

● I suffered extreme distress when the BBF canceled the publication of “The Kindest” for

   One City One Story. I felt it was tremendously unjust that Dorland and her lawyers had

   manipulated facts, and had bullied the BBF so egregiously that this small non-profit
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       budget gave up their fight out of fear of being sued by Dorland and the Cohen

       Defendants, at great cost to both the BBF and to me.

   ● I suffered extreme distress when The Boston Globe published two articles about me due

       to Dorland’s constant efforts and manipulation of facts, which portrayed me as a

       plagiarist. I was terrified that my reputation and career as a writer would be damaged

       forever.

       I am not yet able to compute my financial injuries as discovery is still ongoing. In

addition, I am still trying to monetize my damages relating to my lost opportunities when the

BBF’s One City/One Story project was canceled and the ramifications of said cancelation, as

well as the emotional distress I suffered as a result of the actions of Dorland and the Cohen

Defendants. Damages for emotional distress, loss of weight and difficulty in sleeping will be

determined by a jury at trial. I will attempt to find and produce my therapy bills and medical

expenses if all Defendants in this Action sign appropriate confidentiality agreements.

Furthermore, I will be seeking attorney’s fees that cannot be determined until the conclusion of

this Action, at which time appropriate records will be produced.


   Signed under the pains and penalties of perjury this 25th day of November 2020.




                                             ________________________________________
                                             Sonya Larson



   As to Objections:

   /s Andrew D. Epstein
   _________________________________
   Andrew D. Epstein
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                                     Certificate of Service


        I certify that Plaintiff’s Objections and Answers to Defendant, Dawn Dorland Perry’s
Interrogatories were sent on the date indicated below by U.S. Mail, postage prepaid, addressed as
follows:


Suzanne M. Elovecky, Esq. and               Matthew H. Greene, Esq.
Partridge Snow & Hahn                       Boyle Shaughnessy Law, PC
30 Federal Street                           695 Atlantic Avenue
Boston, MA 02110                            Boston, MA 02111

        A copy of said objections and answers was also sent to each attorney by email addressed
to selovecky@psh.com and mgreene@boyleshaughnessy.com.



                                                    /s/ Andrew D. Epstein
                                                    ________________________
November 25, 2020                                   Andrew D. Epstein
